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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                                          scouns.go\
                                                Miami Division

ln re: Carbrera Investments LLC                                        Case   No. l8-19175-RAM
                                                                       Chapter I I

                        Debtor       I

                          CHAPTER        1T   CASE M       AGEMENT SUMMARY

       In compliance with Local Rule 2081-l(B), the Debtor-in-Possession ITrustee],
Cabrera lnvestm ents LLC files this Chapter I I Case Management Summary and states:

        The following data represents approximations for background information only and the
information may represent the Debtor's ITrustee's] best estimate in response to some ofthe ensu ing
questions.

                Date  ofOrder for Reliefunder chapter I I (filing date ofpetition ifvoluntary chapter
                I 1 petition): July 30, 2018.


         2.    Names. case numbers and dates        ol'liling oirelated debtors: None.

         l     Description ofdebtor's business: Single asset real estate holding company.

         1     Locations of debtor's operations and whether the business premises are leased or
               owned:6600 Cow Pen Road, Suite 203, Miami Lakes, FL 33012; owned.

         5     Reasons for filing chapter I | : Property referenced in paragraph 4 being
               foreclosed by the lst and 2nd mortgages; Debtor seeks to value and determine
               secured status of both mortgages.

         6     List ofofficers and directors, ifapplicable, and their salaries and benefits at the time
               of filing and during the I year prior to filing: Ladys Cabrera, manger, no salary
               or benefits, and Angel Pedro Gonzalez, no salary or benefits.

         1     Debtor's fiscal or calendar year to date gross income and the debtor's gross income for
               the calendar or fiscal year prior to the filing ofthis petition: Debtor gross income
               for 2018 is $0.00; Debtor gross estimated income for 2017 is $48,000.00.

         8-    Amounts owed to various creditors:

                 a      Obligations owed to priority creditors including priority tax obligations:


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                   b. With respect to creditors holding secured claims, the name of and amounts
                   owed to such creditors and a description and estimated value ofall collateral
                   ofthe debtor securing their claims:

         Location/Description Value                            Debt                      Lien Holder

         6600 Cow Pen Rd,                $184,s85.00           $s41,3s2.84             ReadyCap Lending LLC
         Suite 203, Miami
         Lakes. FL 33014
                                                               $350.000.00             Bank of America

                                                               $3,s78.r0               Miami-Dade Tax Collector
                   and

                   c.    Amount of unsecured claims: 0.00

         9.     General description and approximate value ofthe debtor's assets: No other assets
         other than real estate.

         10.       List ofall insurance policies, the property covered under the policy, the name ofthe
                   insurer, the policy number, amount ofcoverage, whether the premium is current, the
                   date the next premium is due and date the policy expires:

      Insurer            Property    Coverage         Status            Next      Policy Number          Expiration
                         Covered     Amount                             Premium                          date
                                                                        Date
       Western           Common      I   ,000,000     Current           411t19    NPP8377756             4nt19
       World             area
      Insurance          liability
      Co.                insurance

      Lloyd's     of     Common      2,100,000 Current                  4/1/19    097590075249-S-        4nt19
      London            area                                                      03
                         property
                         insurance

      Granada            Liability   1,000,000 Cunent                   8l17l19   0185FL00114162 8lt7l19
      Insurance          lnsurance
      Company




         I   l.    Number ofemployees and amounts ofwages owed as ofpetition date: 0.

         12.       Status of debtor's payroll and sales tax obligations, if applicable. This does not
                   eliminate the obligation olchapter I I debtors (other than individuals not engaged in
                   business) to provide the more detailed payroll tax information required by Local
                   Rule 2081- l(A): Not appticabte.
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         t3.             Anticipated emergency relief to be requested within l4 days from the petition date:
         None.


                                                                        ure

                                                             Ladys Cabrera
                                                       (Name of Corporate Officer or Authorized
                                                       Representative)

                                          CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing was served via ECF on August 29, 20 [ 8 upon: Office of
the US Trustee at USTPRegion2l .MM.ECF@usdoj.gov; ReadyCap Lending, LLC c/o Jamie W
Olinto at jamie.olinto@arlaw.com, abbey jones@arlaw.com;richene.oliver@arlaw.com.



                                                          rs/ Ricardo A. Rodriguez
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Attach or file separately a Local Rule 2002-l(F) ce(ificate ofservice reflecting manner and date of
service on all affected parties.




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